Case 1:08-cr-00389-JC-C Document 61 Filed 01/13/10 Page 1 of 6

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" AO 245B (Rev. 06/05) Judgment in a Criminal Case: Sheet 1 (PACTS #4481) . * SS)

| X
UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF ALABAMA

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
V. (For Offenses Committed On or After November 1, 1987)

EBMOND HUDMOND SMITH, IV CASE NUMBER: 1:08-00389-90i ~
USM NUMBER: 07241-059

THE DEFENDANT: | Thomas Milton Haas, Sr. _
Defendant's Attorney

 

pleaded guilty to count(s) _.
pleaded nolo contendere to count(s) __ which was accepted by the court.
was found guilty on count(s) ONE of the indictment_ after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):

Date Offease Count
Title & Section Nature of Offense Concluded No.(s)
18:922(¢X1} felon in possession of ammunition November 21, 2008 1

The defendant is sentenced as provided in pages 2 through _6_ of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

() The defendant has been found not guilty on count(s) __.
() Count(s) ___ is/are dismissed on the motion of the United States.

IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines, restitution,
costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shail notify the court and United States attorney of any material change in the defendant's
economic circumstances.

January 08, 2010
Date of Imposition of Judgment

Qh Cory
SENIOR UNITED STATES DIS'PRICT JUDGE

IZ, Zo16

 

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. ATTACHMENT I page 1 of 12
- Case 3:19-cv-00002-RRB Document1-1 Filed 01/04/19 Page 1 of 12
Case 1:08-cr-00389-JC-C Document 61 Filed 01/13/10 Page 2 of 6

Judgment 2

AO 245B (Rev. 06/05) Judgment in a Criminal Case: Sheet 2 - Imprisonment

Defendant: EDMOND HUDMOND SMITH, [V
Case Number: 1:08-00389-001

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of 40 MONTHS __.

() Special Conditions:

‘

hi,

(X) The court makes the following recommendations to the Bureau of Prisons: That the
defendant be provided mental health treatment and/or counseling, and medical treatment
in an appropriate manner to address both his medical condition, as well as his mental
health.

(X) The defendant is remanded to the custody of the United States Marshal.

\
( j The dvi ecudent shall surrender to the United Staies Marshal for this district:
() at a.m./p.m. on, .

() as notified by the United States Marshal.

() The defendant shall surrender for service of sentence at the institution designated by the Bureau
of Prisons:

() before 2 p.m. on .
( ) as notified by the United States Marshal.
() as notified by the Probation or Pretrial Services Office.

RETURN

[ have executed this judgment as follows:

 

 

 

Defendant delivered on to at
with a certified copy of this judgment.

UNITED STATES MARSHAL __

By
Nennuty TTS Marchal

Case 3:19-cv-OO0OOAHAGHMEMIC Injmagiel 271 of il) 01/04/19 Page 2 of 12
Case 1:08-cr-00389-JC-C Document 61 Filed 01/13/10 Page 1 of 6

AO 245B (Rey. 06/05) Judgment in a Criminal Case: Sheet | (PACTS #4481)

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF ALABAMA

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
V. (For Offenses Committed On or After November 1, 1987)

EDMOND HUDMOND SMITH, IV CASE NUMBER: 1:08-00389-001
USM NUMBER: 07241-059

 

‘THE DEFENDANT: Thomas Milton Haas, Sr.
Defendant's Attorney

 

pleaded guilty to count(s) _.
pleaded nolo contendere to count(s) __ which was accepted by the court.
) was found guilty on count(s) ONE of the indictment_ after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):

 

Date Offense Count
Title & Section Nature of Offense Conciu-ler Noa fs) Freie ie
18:922(¢3¢1) felon in possession of ammunition November 21, 2068 1

The defendant is sentenced as provided in pages 2 through _6_ of this judgment, The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

rf

() The defendant has been found not guilty on count(s) __.
() Count(s) __ is/are dismissed on the motion of the United States.

IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines, restitution,
costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States attorney of any material change in the defendant's
economic circumstances.

January 08, 2010
Date of Imposition of Judgment

Qracd_Com
SENIOR UNITED STATES DISPRICT JUDGE

iz, 2610

 

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ATTACHMENT T page 3 of 12
Case 3:19-cv-00002-RRB Document 1-1 Filed 01/04/19 Page 3 of 12
Case 1:08-cr-00389-JC-C Document 61 Filed 01/13/10 Page 2 of 6

'

Judgment 2

AO 245B (Rev. 06/05) Judgment in a Criminal Case: Sheet 2 - Imprisonment

Defendant: EDMOND HUDMOND SMITH, IV
Case Number: 1:08-00389-001

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of 40 MONTHS .

() Special Conditions:

(X) The court makes the following recommendations to the Bureau of Prisons: That the
defendant be provided mental health treatment and/or counseling, and medical treatment

in an appropriate manner to address both his medical condition, as well as his mental
health,

(X) The defendant is remanded to the custody of the United States Marshal.

Q) The defendant shall surrender to the United States Marshal for this district:
@) at a.m./p.m. on ,
( ) as notified by the United States Marshal.

() The defendant shall surrender for service of sentence at the institution designated by the Bureau
of Prisons:

() before 2 p.m. on .
() as notified by the United States Marshal.
() as notified by the Probation or Pretrial Services Office.

RETURN

I have executed this judgment as follows:

 

 

 

Defendant delivered on to at
with a certified copy of this judgment.

UNITED STATES MARSHAL __

By

 

Nennty TTS Marchal

Case 3:19-Ccv-000Q¢r FAC FUME at ade Ried 01/04/19 Page 4 of 12
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Case 1:08-cr-00389-JC-C Document 61 Filed 01/13/10 Page 3 of 6

t 7?

Judgment 3

AO 245B (Rev. 06/05) Judgment in a Criminal Case: Sheet 3 - Supervised Release
Defendant: EDMOND HUDMOND SMITH, IV .

Case Number: 1:08-00389-001
SUPERVISED RELEASE

 

Upon release from imprisonment, the defendant shall be on supervised release for a term of __3 YEARS .

(X) Special Conditions: The defendant shall participate in a program of mental health
treatment and/or counseling as directed by the probation office.

For offenses committed on or after September 13, 1994: The defendant shall refrain
from any unlawful use of a controlled substance. The defendant shall submit to one drug
test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as directed by the probation officer.

QD) The above drug testing condition is suspended based on the court’s determinatien that the defendant poses

a iow risk of future substance abuse. (Check, if applicabie)

<) The defendant shall register with the state sex offender registration agency in the state where the
defendant resides, works, or is a student, as directed by the probation officer. (Check, if applicable)

() The defendant shall participate in an approved program for domestic violence. (Check, if applicable)

(X) The defendant shall not possess a firearm, destructive device, or any other dangerous
weapon.

If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution that remains unpaid at the commencement of the term
of supervised release in accordance with the Schedule of Payments set forth in the Criminal Monetary
Penalties sheet of this judgment. The defendant shall report to the probation office in the district to
which the defendant is released within 72 hours of release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not illegally possess a controlled substance.

The defendant shall comply with the standard conditions that have been adopted by this court
(Probation Form 7a).

The defendant shall also comply with the additional conditions on the attached page (if
applicable).

 

 

See Page 4 for the
"STANDARD CONDITIONS OF SUPERVISION"

 

Case 3:19-cv-0000 ERE dcBARP19f ied 01/04/19 Page 5 of 12

 
Case 1:08-cr-00389-JC-C Document 61 Filed 01/13/10 Page 4 of 6

Judgment 4

AO 245B (Rev. 06/05) Judgment in a Criminal Case: Sheet 3 - Supervised Release

Defendant: EDMOND HUDMOND SMITH, IV
Case Number: 1:08-00389-001

SUPERVISED RELEASE

STANDARD CONDITIONS OF SUPERVISION

1} the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer and shall submit a truthful and complete written report
within the first five days of each month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the
probation officer;

4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

6) the defendant shal! notify the probation officer at Jeast ten days prior to any change in ==:'dence or
employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or
administer any controlled substance or any paraphernalia related to any controlled substances, except as
prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
administered;

9) the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with
any person convicted of a felony unless granted permission to do so by the probation officer;

10) the defendant shal! permit a probation officer to visit him or her at any time at home or elsewhere and shall
permit confiscation of any contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a
law enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement
agency without the permission of the court;

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned
by the defendant's criminal record or personal history or characteristics, and shall permit the probation
officer to make such notifications and to confirm the defendant's compliance with such notification
requirement;

'14) the defendant shall cooperate, as directed by the probation officer, in the collection of DNA, if applicable,
under the provisions of 18 U.S.C. §§ 3563(a)(9) and 3583(d) for those defendants convicted of qualifying
offenses.

ATTACHMEBT I page 6 of 12
Case 3:19-cv-00002-RRB Document1-1 Filed 01/04/19 Page 6 of 12
___, Case 4:08-cr-00389-JC-C Document 61 Filed 01/13/10 Page 5 of6

Judgment 5
AO 245B (Rev. 06/05) Judgment in a Criminal Case: Sheet 5, Part A - Criminal Monetary Penalties

Defendant: EDMOND HUDMOND SMITH, IV
Case Number: 1:08-00389-001
CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance with the
schedule of payments set forth on Sheet 5, Part B.

Assessment Fine Restitution
Totals: $ 100.00 $0.00 $0.00
(0) The determination of restitution is deferred until _. An Amended Judgment in a Criminal

 

Case (AO 245C) will be entered after such a determination.

If the defendant makes a partial payment, each payee shall receive an approximately proportional
payment unless specified otherwise in the priority order or percentage payment column below. (or see
attached) However, pursuant to 18 U.S.C. § 3644(i), all non-federal victims must be paid in full prior
to the United States receiving payment.

() The defendant shall make restitution (including community restitution) to tbe following payees
in the amounts listed below.

Name(s) and *Total Amount of Priority Order

Address(es) of Payee(s) Amount of Loss Restitution Ordered or %_of Payment
TOTALS: $ _ S$.

() If applicable, restitution amount ordered pursuant to plea agreement. $

() The defendant shall pay interest on any fine or restitution of more than $2,500, unless the fine or

restitution is paid in full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f).
All of the payment options on Sheet 5, Part B may be subject to penalties for default, pursuant to 18 U.S.C. §
3612(g).

() The court determined that the defendant does not have the ability to pay interest and it is ordered that:
() The interest requirement is waived for the () fine and/or () restitution.

() The interest requirement for the () fine and/or () restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18,
United States Code, for offenses committed on or after September 13, 1994 but before April 23, 1996.

Case 3:19-cv-OOOO2TRATBMEND CH pase T7lofFiiad 01/04/19 Page 7 of 12
Case 1:08-cr-00389-JC-C Document.61 Filed 01/13/10. Page 6 of 6

Judgment 6

AO 2 245B (Rev. 06/05 ) Judgment i in a Criminal Case: Sheet 5, Part B - Schedule of Payments _
Defendant: EDMOND HUDMOND SMITH, IV

Case Number: 1:08-003389-001

 

SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be
due as follows:

A

(X) Lump sum payment of $_100.00___ due immediately, balance due
() not later than , Or O in accordance with QO C, QO D, Q Eor Or below; or

O Payment to begin immediately (may be combined with () C, () D, () E or O F below);
or

 

(e.g., equal, weekly, monthly, quarterly) installments of $ over a
(e.g., 30 or 60 days) after the

O Payment in
period of (e.g., months or years), to commence
date of this judgment; or

 

 

 

() Payment in (e.g., equal, weekly, monthly, quarterly) installments of $ over a
period of (e.g., months or years), to commence (e.g., 30 or 60 days) afer
release from imprisonment t.. # term gf supervision; or

 

 

 

 

O Payment during the term of supervised release will commence within (e.g., 30 or 60

‘ days) after release from imprisonment. The court will set the payment plan based on an

assessment of the defendant's ability to ay at that time; or

O Special instructions regarding the payment of criminal monetary penalties:

Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a
period of imprisonment payment of criminal monetary penalties shall be due during the period of
imprisonment. All criminal monetary penalty payments, except those payments made through the Federal
Bureau of Prisons’ Inmate Financial Responsibility Program, are to be made to the clerk of court, unless
otherwise directed by the court, the probation officer, or the United States attomey.

The defendant will receive credit for all payments previously made toward any criminal monetary penalties
imposed,

Joint and Several:

The defendant shall pay the cost of prosecution.
The defendant shall pay.the following court cost(s):
The defendant shall forfeit the defendant's interest in the following property to the United States:

 

Payments shall be applied in the following order: (1) assessment; (2) restitution principal; (3). restitution interest, (4)
_ fine principal; (5) fine interest , (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution
and court costs. , , ,

ATTACHMENT I page & of 12

Case 3:19-cv-00002-RRB Document1-1 Filed 01/04/19 Page 8 of 12
Case 1:09-cr-00158-S-GGB Document 120-2 Filéd 12/06/10 Page 175 of 195
339

 

MR. STANKOSKI: Judge, I'm going to object at this

point to that. Mr. Goldberg knows that there was no
2 ete
conviction for that, and it's improper to ask him. He said

 

 

 

" that’ Sallie. And he cannot then go and try and impeach him

made.

1

2

3

4

5} with evidence that there was an arrest or an arrest report
6 :

7 THE COURT: Okay. Approach the bench, Counsel, and
8

let's sort out the Procedure on this.

~~
to

(Sidebar conference, on the record: )
10 THE COURT: I think you are entitled to ask him
11j about his criminal record.
ee, MR. GOLDBERG: Uh-huh.
THE COURT: But if he Says no, then you've got to
either accept that, come up with a certified copy.
| MR. GOLDBERG: Yes, Your Honor. And I am not.

- impeaching him with a prior conviction. It" S impeachment of

 

 

 

the testimony he gave. [' m not --. “there is no conviction. .
cmt . : 7 cassis ee revenge icine EIS
———————
THE COURT: Okay. ————S—_—_—_— ST, cd
i ig Ce /
MR. GOLDBERG: But he lied on the witness stand “+ é

 

THE COURT: Well, then ‘the way to do that is to ask

 

him a question, and when he answers the question, call his
22 attention to the time under oath and the deposition that he
23 answered that same question differently.

24 MR. GOLDBERG: I thought that's what I did, but I

25 can rephrase. I thought he said he would never take a life,

 

 

 

MARY FRANCES GIATTINA, CCR, RDR, CRR, OFFICIAL COURT REPORTER

P. 0. . BOX 3021, MOBILE, ALABAMA 36652-3021 (251) 690-3003
ATOAMESE I pag: 9 of 12

Case 3:19-cv-00002-RRB Document 1-1 Filed 01/04/19 Page 9 of 12
of 3

LEK ema

Jack Camp, Senior Federal Judge, Pleads Guilty To 2 Drug Charges

[Submit Query|

February 1, 2011

  

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Jack Camp, Senior Federal Judge, Pleads Guilty To 2 Drug
Charges

GREG BLUESTEIN | 11/19/10 09:29 PM | 4?
What's Your Reaction?

ATLANTA — A veteran federal judge who was arrested on charges that he bought and used drugs with a stripper pleaded guilty
Friday to two-drug related charges, including a felony count of giving her cocaine even though he knew she was a convicted
felon.

U.S. Senior Judge Jack T. Camp pleaded guilty to the felony charge of aiding and abetting a felon's possession of cocaine when
he bought drugs for the stripper, who was secretly cooperating with authorities. He also pleaded guilty to two misdemeanors:
- possession of illegal drugs and illegally giving the stripper his government-issued laptop.

Camp, 67, could face up to four years in federal prison when he is sentenced March 4, but he is likely to get substantially less
time. Federal sentencing guidelines recommend he serve four to 10 months in prison. Camp's legal team may ask for an even
shorter sentence.

‘3 part of the plea deal, Camp also resigned from the bench and agreed to cooperate with authorities looking into any of the
cases he handled while he was being investigated.

When a judge asked Camp if the charges were accurate, he replied, "| regret ... | am embarrassed to say it is, your honor."
Neither he nor his attorneys offered any explanation for his actions.

The charges against Camp, who is married with two grown children, were laid out in a shocking eight-page affidavit released
days after his Oct. 1 arrest. The judge, who remains free on a $50,000 bond, was originally charged with four drug-related
charges and one count of possessing firearms while illegally using drugs.

Authorities say a stripper, who previously had a felony drug trafficking conviction, had been working with the FBI since the spring
to build a case against the judge. In exchange, prosecutors agreed not to charge her. .

They also say Camp knew the stripper was a convicted felon because he asked a deputy marshal to look up her criminal record,
telling the officer he was renting a house to her. Prosecutors had to prove that Camp knew she was a felon to land the more
serious felony charge.

Camp's relationship with the dancer, who was identified only as Cl-1 in the documents, appears to have begun in May when he
received a dance from her — along with her phone number — at an Atlanta strip club, according to the affidavit.

ADVERTISEMENT

Authorities say when they met the next day at a hotel, he paid her to have sex with him and the two used cocaine together. Over
the next few months, the two used cocaine and other drugs together at strip clubs and other places, and the judge would pay
$40 to $50 to join her in getting high, according to the documents.

The relationship grew closer over the months. Prosecutors say the judge startled the stripper by following her to a suburban
Atlanta house where she was buying drugs one day in June. She told authorities that he brought a semiautomatic handgun with
him in case she needed protection, the affidavit said.

“

Case 3:19-cv-00002-RRR pequment tq of EF 01/04/19 Page 10 of 12
Jack Camp, Senior Federal Judge, Pleads Guilty To 2 Drug Charges Page 2 of 3

Prosecutors also said for the first time Friday that Camp gave the stripper his government-issued laptop in September, days
after he complained that he needed a new one.

But their relationship unraveled in October.

First, Camp discussed with the stripper how he could help her with her criminal record, and advised her to tell potential
employers it was a “minor offense” and that one of the judges on the court can explain it to him, according to the affidavit.

He then told her in a recorded phone call that he will “watch your back anytime" and boasted that he has two guns to "take care
of any problems that come up.”

A few hours later, the dancer asked Camp to follow her to a grocery store parking lot to meet a drug dealer, and Camp then
gave the stripper $160 to buy the drugs from an undercover officer. About 10 minutes later, FBI agents swarmed the judge's car,
where they also recovered two guns from his front seat.

Camp's arrest was a catastrophic downfall for the respected federal judge, a no-nonsense Vietnam War veteran who was
appointed to the bench by Ronald Reagan in 1987.

He handled hundreds of cases during his tenure, including the 2004 sentencing of two men accused of killing DeKalb County
Sheriff Derwin Brown. And he supervised. several cases while being investigated, including an April trial involving a pilot who
was acquitted by a jury on charges of shipping cocaine for drug traffickers.

The judge's arrest and prosecution created a mess in the busy Northern District of Georgia, which covers metro Atlanta. Senior
U.S. District Judge Thomas Hogan from the District of Columbia, was assigned the case because the other judges recused
themselves, and prosecutors from the Justice Department's central office flew in to handle the case.

Camp's friend Jud Starr said the judge will spend the next few months with his family, and that he hopes to “make amends to the
community by finding ways to put his substantial experience and many talents to good use."

“Judge Camp holds himself accountable for his personal actions and will strive to better understand and overcome the causes of
his poor judgment," said Starr, a Washington attorney who has known Camp for 40 years and was the best man at his wedding.

It's unclear whether any of the decisions Camp made while he was being investigated will be revisited, but several attorneys
have filed appeals or signaled they would do so.

Starr, however, said Camp underwent an evaluation in October to explain his actions. Starr said the evaluation determined
Camp had no issues with controlled substances and that his condition "did not affect his judicial decisions in any way."

Videos
i Web
— i Images

   

Jack Camp guilty

 

 

Thomas sentenced to 5 years for terrorism offences. 31/03/2006 ...

 

 

Couric, Gibson falsely claim “no member" of Congress offered to ...

 

 

 

 

Michael Savage plays Dead Kennedys song “in some respect for" Sen ...

ATTACHMENT I page 11 of 12
Case 3:19-cv-00002-RRB Document 1-1 Filed 01/04/19 Page 11 of 12
Jack Camp, Senior Federal Judge, Pleads Guilty To 2 Drug Charges Page 3 of 3
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ATTACHMENT I page 12 of 12
Case 3:19-cv-00002-RRB. Document 1-1 . Filed 01/04/19 Page 12 of 12
